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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA




     ACCESS FOR THE DISABLED, INC.,
     ROBERT COHEN, and PATRICIA KENNEDY,

            Plaintiffs,

     vs.

     KING’S SUPER BUFFET, INC.

            Defendant.

     __________________________________/

                                  INJUNCTIVE RELIEF SOUGHT

                                              COMPLAINT

            Plaintiffs, ACCESS FOR THE DISABLED, INC., ROBERT COHEN, and

     PATRICIA KENNEDY (Collectively “Plaintiffs”), by and through the undersigned

     counsel, hereby file this Complaint against Defendant, KING’S SUPER

     BUFFET, INC. (hereinafter “Defendant”) for injunctive relief pursuant to the

     Americans with Disabilities Act, 42 U.S.C. §1281, et seq. (“ADA”) and the ADA’s

     Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”), and allege as follows:

                                            JURISDICTION

            1.      This Court has original jurisdiction over the action pursuant to 28

     U.S.C. §§1331 and 1343 for Plaintiffs’ claims arising under 42 U.S.C. §12181,

     et seq., based upon Defendant’ failure to remove physical barriers to access

     and violations of Title III of the ADA (see also, 28 U.S.C. §§2201 and 2201).
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                                                PARTIES

            2.      Plaintiffs, ROBERT COHEN and PATRICIA KENNEDY are residents

     of the State of Florida and this judicial district, are sui juris, are disabled as

     defined by the ADA, and substantially limited in performing one or more major

     life activities, including but not limited to walking, standing, grabbing, grasping

     and/or pinching. Plaintiffs use wheelchairs for mobility purposes. Plaintiffs’

     access to the Defendant’s restaurant commonly referred to as King’s Super

     Buffet located at 7101 W. Oakland Park Blvd, Lauderhill, FL 33313 (“the

     Facility”) and/or full and equal enjoyment of the goods, services, facilities,

     privileges, advantages and/or accommodations offered therein were denied

     and/or limited because of these disabilities, and will be denied and/or limited

     in the future unless and until Defendant is compelled to remove the physical

     barriers to access and correct the ADA violations which exist at the Facility,

     including those set forth in this Complaint.

            3.      In July of 2011, Plaintiffs ROBERT COHEN and PATRICIA

     KENNEDY visited the Facility as a customer, ordered food, traversed in the

     Facility, and attempted to utilize the restroom facilities.

            4.      Plaintiffs intend to visit the Facility annually to verify its

     compliance or non-compliance with the ADA, and its maintenance of the

     accessible features of the Facility. Plaintiffs live in the vicinity of the Facility,

     have visited the Facility at least once before and intend on visiting the Facility

     within the next six months as soon as the Facility is accessible again.


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             5.     In this instance, Plaintiffs, ROBERT COHEN and PATRICIA

     KENNEDY in their individual capacity and as members and testers for ACCESS

     FOR THE DISABLED, INC., travelled to the Facility as customers, encountered

     the barriers to access at the Facility detailed in this Complaint, engaged those

     barriers, suffered legal harm and legal injury, and will continue to suffer such

     harm and injury as a result of the illegal barriers to access and Defendant’s

     ADA violations discussed below.

             6.     ACCESS FOR THE DISABLED, INC. is a non-profit Florida

     corporation.      Plaintiffs are members of this organization. This organization’s

     purpose is to, among other things, represent the interest of its members and

     other    persons      with    disabilities     by    assuring     that     places    of    public

     accommodation are accessible to and usable by individuals with disabilities.

     Plaintiffs, and other persons with disabilities, have suffered and/or will suffer

     direct and indirect injury as a result of Defendant’s discrimination until

     Defendant is compelled to remove the physical barriers to access and comply

     with ADA requirements.           When ACCESS FOR THE DISABLED, INC. receives a

     complaint about a non-compliant facility, like it received about Defendant’s

     facility, it has a policy of sending its members, in this case, Robert Cohen and

     Patricia Kennedy, to the facility multiple times to establish irreparable harm.

             7.     Defendant is a Florida limited liability company, and transacts

     business in the State of Florida and within this judicial district.                    Its owns

     and/or operates the Facility commonly referred to as King’s Super Buffet


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     located at 7101 W. Oakland Park Blvd, Lauderhill, FL 33313. Defendant is the

     owner, lesee, sub-lesee, lessor and/or operator of the real property and

     improvements which are the subject of this action, commonly referred to as

     King’s Super Buffet and referred to in this Complaint as the Facility.

                              FACTUAL ALLEGATIONS AND CLAIM

            8.      On July 26, 1990, Congress enacted the Americans with

     Disabilities Act 42 U.S.C. §12101, et seq.

            9.      Congress found, among other things, that:

                    (i)     some 43,000,000 Americans have one or more physical or
                            mental disabilities, and this number is increasing as the
                            population as a whole is growing older;

                    (ii)    historically, society has tended to isolate and segregate
                            individuals    with    disabilities, and,   despite   some
                            improvements, such forms of discrimination against
                            individuals with disabilities continue to be a serious and
                            pervasive social problem;

                    (iii)   discrimination against individuals with disabilities persists
                            in such critical areas as employment, housing public
                            accommodations, education, transportation, communication,
                            recreation, institutionalization, health services, voting, and
                            access to public services;

                    (iv)    individuals with disabilities continually encounter various
                            forms of discrimination, including outright intentional
                            exclusion, the discriminatory effects of architectural,
                            transportation, and communication barriers, overprotective
                            rules and policies, failure to make modifications to existing
                            facilities and practices, exclusionary qualification standards
                            and criteria, segregation, and relegation to lesser service,
                            programs, activities, benefits, jobs, or other opportunities;
                            and

                    (v)     the continuing existence of unfair and unnecessary
                            discrimination and prejudice denies people with disabilities
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                           the opportunity to compete on an equal basis and to pursue
                           those opportunities for which our free society is justifiably
                           famous, and costs the United States billions of dollars in
                           unnecessary expenses resulting from dependency and
                           nonproductivity.

     42 U.S.C. §12101(a)(1) - (3), (5) and (9).

            10.     Congress explicitly stated that the purpose of the ADA was to:

                    (i)    provide a clear and comprehensive national mandate for the
                           elimination of discrimination against individuals with
                           disabilities;

                    (ii)   provide a clear, strong, consistent, enforceable standards
                           addressing      discrimination against   individuals  with
                           disabilities; and

                    (iv)   invoke the sweep of congressional authority, including the
                           power to enforce the fourteenth amendment and to regulate
                           commerce, in order to address the major areas of
                           discrimination faced day-to-day by people with disabilities.

     42 U.S.C. §12101(b)(1)(2) and (4).

            11.      The     congressional       legislation     provided      places     of    public

     accommodation one and a half years from the enactment of the ADA to

     implement the requirements imposed by the ADA. The effective date of Title III

     of the ADA was January 26, 1992, or January 26, 1993 if defendant has 10 or

     fewer employees and gross receipts of $500,000 or less. 42 U.S.C. § 12181; 28

     C.F.R. §36.508(a)

            12.     The Facility is a public accommodation and service establishment.

            13.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26,

     1991, the Department of Justice, Office of Attorney General, promulgated

     federal regulations to implement the requirements of the ADA. 29 C.F.R. Part
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     36. Public accommodations were required to conform to these regulations by

     January 26, 1992 (or January 26, 1993 if defendant has 10 or fewer employees

     and gross receipts of $500,000 or less). 42 U.S.C. §1281, et seq., and 28 C.F.R.

     §36.508(a).

            14.     The Facility must be, but is not, in compliance with the ADA and

     ADAAG.

            15.      Plaintiffs have attempted to and have, to the extent possible,

     accessed the Facility in their capacity as customers of Defendant, but could not

     do so because of their respective disabilities due to the physical barriers to

     access, dangerous conditions and ADA violations that exist at the Facility that

     preclude and/or limit their access to the Facility and/or the goods, services,

     facilities, privileges, advantages and/or accommodations offered therein,

     including those barriers, conditions and ADA violations more specifically set

     forth in this Complaint.

            16.     Plaintiffs and members of ACCESS FOR THE DISABLED, INC.

     intend to visit the Facility again in the very near future as customers in order

     to utilize all of the goods, services, facilities, privileges, advantages and/or

     accommodations commonly offered at these Facility, but will be unable to do so

     because of their disability due to the physical barriers to access, dangerous

     conditions and ADA violations that exist at the Facility that preclude and/or

     limit their access to the Facility and/or the goods, services, facilities, privileges,




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     advantages and/or accommodations offered therein, including those barriers,

     conditions and ADA violations more specifically set forth in this Complaint.

            17.     Defendant has discriminated against Plaintiffs and others with

     disabilities, by denying access to, and full and equal enjoyment of the goods,

     services, facilities, privileges, advantages and/or accommodations of the

     Facility, as prohibited by, and by failing to remove architectural barriers as

     required by 42 U.S.C. §12182(b)(2)(A)(iv), and will continue to discriminate

     against Plaintiffs and others with disabilities unless and until Defendant is

     compelled to remove all physical barriers that exist at the Facility, including

     those specifically set forth herein, and make the Facility accessible to and

     usable by persons with disabilities, including Plaintiffs.

            18.     Defendant has discriminated against Plaintiffs by failing to comply

     with the above requirements. A specific, although not exclusive, list of unlawful

     physical barriers, dangerous conditions and ADA violations which preclude

     and/or limit Plaintiffs' ability (because of their disability) to access the Facility

     and/or full and equal enjoyment of the goods, services, facilities, privileges,

     advantages and/or accommodations of the Facility, include:


     Accessible Elements

        a. Serving counters where business is transacted in the Facility are in

            excess of 36 inches in height in violation of section 7.2(1) of the ADAAG.




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        b. There are thresholds to the buffet area that exceed ¼ inch in height and

            such thresholds contain impressible edge treatments in violation of

            Section 4.5.2 of the ADAAG.

     Parking Lot

            a. There are obstacles in the form of landscaping blocks that impede the

                access aisles from the west disabled parking space in violation of

                Section 4.5.2 of the ADAAG.

            b. One of the disabled parking spaces has a width less than 96 inches in

                violation of Section 4.6.3 of the ADAAG.

     Restrooms

            a. Signs which designate disabled restroom facilities are not properly

                marked to comply with ADAAG 4.30.4, 4.30.5, and 4.30.6.

            b. Restrooms designated for public use at the Facility are inaccessible

                without the required disabled use elements in violation of several

                sections of the ADAAG. See ADAAG 4.22.

            c. At both the men’s and women’s bathroom door there is a vertical rise

                in excess of ½ inch without required floor treatment in violation of

                Section 4.13.8 of the ADAAG.

            d. The grab bars adjacent to the commode are not incompliance with the

                ADAAG. See ADAAG 4.16.4 and/or 4.26.

            e. The size and arrangement of toilet stalls is in violation of ADAAG

                4.17.3. and Fig. 30(a).


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            19.     The above listing is not to be considered all-inclusive of the

     barriers, conditions or violations encountered by Plaintiffs and/or which exist

     at the Facility. Plaintiffs require an inspection of Facility in order to determine

     all of the discriminatory acts violating the ADA.

            20.     Plaintiffs have attempted to gain access to the Facility in their

     capacity as customers, but because of their disability have been denied access

     to, and have been denied the benefits of services, programs and activities of the

     Facility, and have otherwise been discriminated against and damaged by

     Defendant, because of the physical barriers, dangerous conditions and ADA

     violations set forth above, and expect to be discriminated against in the near

     future by Defendant because of Plaintiffs’ disabilities, unless and until

     Defendant are compelled to remove the unlawful barriers and conditions and

     comply with the ADA.

            21.     The removal of the physical barriers, dangerous conditions and

     ADA violations set forth herein is readily achievable and can be accomplished

     and    carried     out    without     much      difficulty    or    expense.        42    U.S.C.

     §12182(b)(2)(A)(iv); 42 U.S.C. §12181(9); 28 C.F.R. §36.304.

            22.     Plaintiffs are without adequate remedy at law, are suffering

     irreparable harm, and reasonably anticipate that they will continue to suffer

     irreparable harm unless and until Defendant are required to remove the

     physical barriers, dangerous conditions and ADA violations that exist at the

     Facility, including those set forth herein.


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            23.     Plaintiffs have been obligated to retain the undersigned counsel for

     the filing and prosecution of this action, and have agreed to pay the

     undersigned counsel reasonable attorney’s fees, costs, and expenses from

     Defendant pursuant to 42 U.S.C. § § 12205 and 12117.

            24.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority

     to grant injunctive relief to Plaintiffs, including an order to alter the subject

     Facility to make it readily accessible to and useable by individuals with

     disabilities to the extent required by the ADA.

            WHEREFORE, Plaintiffs respectfully request that this Court issue a

     permanent injunction enjoining Defendant from continuing its discriminatory

     practices, ordering Defendant to remove the physical barriers to access and

     alter the subject Facility to make it readily accessible to and useable by

     individuals with disabilities to the extent required by the ADA, and award

     Plaintiffs their reasonable attorneys' fees, litigation expenses and costs.

            Respectfully submitted this 24th day of October, 2011.



                                                  /s/ Douglas S. Schapiro
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